            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 1 of 16 Pageid#: 23534



                                                IN THE UNITED STATES DISTRICT COURT
                                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                                     CHARLOTTESVILLE DIVISION

                      CYNTHIA B. SCOTT, et al.,                  )
                                                                 )
                               Plaintiffs,                       )
                                                                 )
                      v.                                         )        Case No. 3:12-cv-36
                                                                 )
                      HAROLD W. CLARKE, et al.,                  )
                                                                 )
                                 Defendants.                     )
                                                                 )

                                               DEFENDANTS’ MAY 2022 STATUS REPORT

                               Defendants, by counsel, pursuant to the Court’s March 16, 2020, Order, ECF No.

                      655, submit this Status Report in advance of the upcoming Status Conference scheduled

                      for June 16, 2022. Pursuant to the Court’s Order, this Status Report addresses:

                               . . . areas in which the Compliance Monitor has found Defendants (1)
                               currently non-compliant with the Settlement Agreement; (2) persistently
                               only in partial compliance; and (3) areas where Defendants’ compliance has
                               been “downgraded” by the Compliance Monitor. For any such areas, the
                               status reports shall address any discrete, concrete steps Defendants have
                               taken or which can be taken to improve compliance.

                      ECF No. 655.

                               On May 18, 2022, the Compliance Monitor submitted a draft of his Third

                      Monitoring Report, which was his second report regarding FCCW’s compliance with the

                      Settlement Agreement. The Compliance Monitor assessed FCCW’s performance regarding

                      the following Standards from the Settlement Agreement: Provider Staffing (standard

ATTORNEYS AT LAW      III.2.b.i), Co-Pay (standard III.2.b..v), Diagnosis and Treatment (standard III.2.b.vi);
  Roanoke, Virginia



                      Emergency Response (standard III.2.b.vii), Infirmary Care/Conditions (standard

                      III.2.b.viii), Infectious Disease/Waste (standard III.2.b.x), Utilization Management

                      (standard III.2.b.xi), Medical Equipment (III.2.b.xiii), Medical Grievances (III.2.b.xv),
                                                                 -1-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 2 of 16 Pageid#: 23535



                      Training (standard III.2.b.xviii), Care/Release of Terminally Ill (standard III.2.b.xix),

                      Performance Measures and Comprehensive Quality Improvement (“CQI”) (standard

                      III.2.b.xxi), and Performance Evaluation (III.2.b.xxii). The Compliance Monitor concluded

                      FCCW was noncompliant in the areas of Diagnosis and Treatment, Medical Equipment,

                      and Performance Evaluation. He concluded FCCW was compliant as to the remaining

                      standards assessed. Thus, after two rounds of monitoring by the current Compliance

                      Monitor, the status of FCCW’s compliance with the Settlement Agreement can be

                      summarized as follows:

                                      Standard                 Prior Monitor       Current Monitor
                            Provider Staffing (III.2.b.i)   Compliant (10/20)   Compliant (5/22)
                            Intake screening (III.2.b.ii)   Compliant (10/20)   Compliant (10/21)
                            Comprehensive health            Compliant (10/20)   Compliant (10/21)
                            assessments (III.2.b.iii)
                            Sick call/Access (III.2.b.iv)   Not compliant       Not compliant (10/21)
                                                            (10/20)
                            Co-Pay (III.2.b.v)              Compliant (10/20)   Compliant (5/22)
                            Diagnosis and treatment         Compliant (10/20)   Not compliant (5/22)
                            (III.2.b.vi)
                            Emergency response              Compliant (10/20)   Compliant (5/22)
                            (III.2.b.vii)
                            Infirmary care/conditions       Compliant (10/20)   Compliant (5/22)
                            (III.2.b.viii)
                            Chronic care (III.2.b.ix)       Not compliant       Not compliant (10/21)
                                                            (10/20)
                            Infectious disease/waste        Compliant (10/20)   Compliant (5/22)
                            (III.2.b.x)
                            Utilization Management          Compliant (10/20)   Compliant (5/22)
                            (III.2.b.xi)
                            Medications (III.2.b.xii)       Not compliant       Compliant (10/21)
                                                            (10/20)
                            Medical equipment               Compliant (10/20)   Not compliant (5/22)
                            (III.2.b.xiii)
ATTORNEYS AT LAW
  Roanoke, Virginia         Physical therapy                Compliant (10/20)   Compliant (10/21)
                            (III.2.b.xiv)
                            Medical grievances              Compliant (10/20)   Compliant (5/22)
                            (III.2.b.xv)
                            Patient access to care          Compliant (10/20)   Compliant (10/21)
                            information (III.2.b.xvi)

                                                                   -2-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 3 of 16 Pageid#: 23536



                            Accommodation for special     Not compliant            Not compliant (10/21)
                            needs (III.2.b.xvii)          (10/20)
                            Training (III.2.b.xviii)      Not compliant            Compliant (5/22)
                                                          (10/20)
                            Care/release terminally ill   Compliant (10/20)        Compliant (5/22)
                            (III.2.b.xix)
                            Mortality Reviews             Compliant (10/20)        Compliant (10/21)
                            (III.2.b.xx)
                            PM/CQI (III.2.b.xxi)          Compliant (10/20)        Compliant (5/22)
                            VDOC Performance              Compliant (10/20)        Not compliant (5/22)
                            evaluation (III.2.b.xxii)
                            Operational                   Compliant (10/20)        Compliant (5/22)
                            protocols/policies

                      I. Update Regarding COVID-19

                               As the rest of the country saw another upswing in positive COVID cases this

                      Spring, so too did FCCW. In late-April to early May, FCCW identified positive COVID cases

                      and implemented COVID protocols generally described in prior status reports (as

                      updated to reflect best practices). There was a total of 151 positive cases among inmates.

                      There were no hospitalizations and no deaths. As of Monday June 6, the facility had no

                      positive cases.

                      II. Response to Compliance Monitor’s Prior Findings of Noncompliance.

                               The Compliance Monitor’s previous report concluded that Defendants were

                      noncompliant in the areas of sick call, chronic care, and accommodations for people with

                      special needs. Although the Compliance Monitor did not reassess these standards as part

                      of his most recent visit, Defendants offer the following updates.

                          a. Sick call

ATTORNEYS AT LAW
  Roanoke, Virginia
                               The Compliance Monitor found FCCW noncompliant with this standard based on

                      his conclusions that “abnormal vital signs were documented but not addressed” and




                                                                  -3-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 4 of 16 Pageid#: 23537



                      “inadequate assessments and plans for problems reported by patients.”1 FCCW continues

                      to measure its compliance with this standard based on the Settlement Agreement’s

                      express language, which addresses the timing of the facility’s response to non-emergency

                      requests, urgent problems or deterioration of chronic conditions, and continuity of

                      medications when sick call requests concern lapses in prescribed medication.

                               The average number of face-to-face patient encounters per month during the first

                      quarter of 2021 was 735. FCCW continues to see patients within three business days of

                      submission of sick call requests. Defendants have made sick calls part of the medical chart

                      as requested by the Compliance Monitor, which requires constant updating due to the

                      number of sick calls.

                          b. Chronic care

                               The Compliance Monitor previously found FCCW noncompliant with this standard

                      based on four out of nineteen encounters representing “instances in which a key element

                      of the encounter, such as medications or blood pressure readings for a patient with

                      hypertension, were not reviewed or documented.” The Compliance Monitor also noted

                      that “chronic care . . . simply cannot be provided adequately without an electronic

                      medical record.”

                               Since that report, FCCW has provided additional training to CNAs on standard

                      rooming and discharge process to aggregate patient information, prepare charts, and

                      obtain testing to facilitate more effective chronic care encounters. See Ex. A, Targonski

ATTORNEYS AT LAW      Decl., *2.2 FCCW’s own audit of this metric continues to demonstrate that chronic care
  Roanoke, Virginia




                      1 As previously noted, ECF No. 853, *3–4, the Compliance Monitor’s measurement of this standard did not
                      comport with the clear language of the Settlement Agreement for this standard.
                      2 Unless otherwise noted, evidentiary support for this Status Report is contained in Dr. Targonski’s

                      Declaration.
                                                                        -4-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 5 of 16 Pageid#: 23538



                      management continues on target with 90+% of audited encounters achieving the

                      cumulative metric for appropriate laboratory testing, surveillance examination, quality of

                      encounter, and follow-up for suboptimal control.

                          c. Accommodations for People with Special Needs

                               The Compliance Monitor previously found FCCW noncompliant with this standard

                      based on the need for additional assistive devices in the infirmary, documentation of

                      repositioning of bedbound patients, linen changes, and toileting, and out of cell time for

                      inmates in the mental health unit.

                               As noted in their previous status report, Defendants installed the requested

                      assistive devices in the infirmary. In addition, part of the overall and infirmary

                      orientation training addresses patients with special ambulatory or toileting needs, and

                      this training is reinforced with staff, including documentation of repositioning, toileting,

                      bathing, linen changes, and skin checks.

                               As to the mental health wing, there are three specialty mental health living units at

                      FCCW: the Acute Unit (2A), the Residential Mental Health Unit (2B), and the Mental

                      Health Supported General Population Wing (2E). FCCW currently has 1 specialty

                      treatment officer that supports the mental health unit. In addition to the qualified mental

                      health professionals on staff at FCCW, FCCW also employs a Group Technician and

                      Wellness Coordinator. These two individuals provide support to the mental health wing

                      and are heavily involved in:

ATTORNEYS AT LAW          •    Stability assessments through Rounds with the treatment officer, typically daily
  Roanoke, Virginia
                          •    Gathering information from night shift staff and updating MH staff on inmate
                               behaviors, daily
                          •    Provision of various psychosocial activities that promote treatment goals
                          •    Assisting and/or supervising out-of-cell free time and meals, as needed
                          •    Supervising yoga and exercise

                                                                    -5-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 6 of 16 Pageid#: 23539



                          •    Assisting and/or supervising daily recreation
                          •    Facilitating commissary-related tasks (assisting with ordering, reviewing orders,
                               ensuring they are delivered to inmates)
                          •    Responding to events on the units as needed
                          •    Overseeing the delivery of treatment incentives
                          •    Creating and providing inmates with wellness packets & self-help materials
                          •    Supervising inmate MH assistants in the provision of their job responsibilities
                          •    Overseeing room-cleaning activities weekly
                          •    Monitoring ADLs as related to treatment goals and/or societal norms
                          •    Coordinating and leading Community meetings
                          •    Acting as a Role Model and Coach to assigned inmates
                               Additionally, the Group Technician and Wellness Coordinator are responsible for

                      developing and delivering other therapeutic tasks currently in various stages of

                      implementation, such as educational groups (current events, topic-related); collaboration

                      with Division of Education for GED- and library-related learning; structured Wellness

                      training/education curriculum (hygiene, housekeeping, financial planning, transition to

                      less structured environment); supervision of increased activity from yoga instructors &

                      other wellness-related workers; and alternate therapeutic activities still in development

                      (horticulture, butterflies, worm farming/composting).

                      III. Response to Compliance Monitor’s Findings of Noncompliance.

                               The Compliance Monitor’s draft report concluded Defendants were noncompliant

                      in the areas of Diagnosis and Treatment, Medical Equipment, and Performance

                      Evaluation. The Compliance Monitor also indicates that he no plans to rate FCCW, where

                      applicable, as “‘not compliant’ going forward, to include and replace the use of

                      ‘noncompliant’ and ‘partially compliant.’”
ATTORNEYS AT LAW
  Roanoke, Virginia
                          a. The Settlement Agreement Requires Evaluation of the Standards Based on a
                             Rating of Compliant, Noncompliant, or Partially Compliant.

                               The Compliance Monitor’s decision to change the evaluation rankings for

                      Defendants’ compliance with the Settlement Agreement is in derogation of the express

                                                                   -6-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 7 of 16 Pageid#: 23540



                      language of the Settlement Agreement and this Court’s Order, ECF No. 655. Section IV.2.c.

                      of the Settlement Agreement expressly provides that “the Compliance Monitor shall rate

                      the Defendant as non-compliant, partially compliant or fully compliant with the

                      obligations contemplated in Section III above.” Moreover, the Court’s Order, ECF No. 655,

                      expressly provides that the parties must “address areas in which the Compliance Monitor

                      has found Defendants . . . persistently only in partial compliance” with the Settlement

                      Agreement. ECF No. 655, *2.

                               The Settlement Agreement is a contract, ECF No. 544, at *47, and this decision by

                      the Compliance Monitor improperly rewrites the Settlement Agreement’s terms. And it

                      does so to the detriment of the Defendants and to the benefit of the Plaintiffs. This is now

                      at least the second example of the Compliance Monitor ignoring express language in the

                      Settlement Agreement. This unilateral decision, by a nonparty to the contract, is beyond

                      any power or authority vested in the Compliance Monitor and should not be permitted by

                      this Court.

                          b. Diagnosis and Treatment

                               The Compliance Monitor concluded FCCW was noncompliant with this standard

                      based on a review of patient records showing a diagnosis of opiate use disorder without

                      “any record of effort to provide treatment” and the lack of any indication that patients

                      with clear and extensive smoking histories had been identified for low dose CT scans of

                      the chest.

ATTORNEYS AT LAW
                               As to the treatment of opiate use disorder, the Compliance Monitor correctly noted
  Roanoke, Virginia


                      that FCCW does provide naltrexone when clinically indicated. This contradicts the

                      Compliance Monitor’s own statement that FCCW has no “record of effort to provide



                                                                  -7-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 8 of 16 Pageid#: 23541



                      treatment.”3 Dr. Targonski has also previously consulted with the University of Virginia

                      and consulting treatment centers to provide MAT for patients using both Subutex and

                      methadone. In addition, the Compliance Monitor states that naltrexone is “often less

                      preferred by patients.” (emphasis added). The Compliance Monitor does not assert or

                      otherwise indicate that naltrexone is any less effective at treating opiate use disorder. In

                      fact, naltrexone is one of three medications approved by the Food and Drug

                      Administration to treat both alcohol use disorder and opioid use disorder.4 Naltrexone is

                      not an opioid, is not addictive, does not cause withdrawal symptoms with stop of use, and

                      does not have euphoric effects. There is no abuse and diversion potential with naltrexone,

                      and it does not require a special certification or waiver for a provider to prescribe it.

                      Buprenorphine and methadone, by contrast, do carry higher risks of abuse and diversion,

                      and both require a special certification or waiver in order to be dispensed.

                               Nonetheless, Defendants are finalizing a pilot program that will institute full-scale

                      medication assisted treatment for opioid use disorder. Under this protocol, FCCW will

                      continue to offer naltrexone for MAT but will also offer, as appropriate, vivitrol (long-

                      acting naltrexone), buprenorphine, and methadone once the appropriate certifications

                      and waivers are obtained by designated FCCW providers.5 Implementation of the pilot

                      program is expected to start this summer with full implementation by early fall. Dr.



                      3 2019 data suggests that only 35% of persons with OUD have received treatment within the past year
                      (Jones CM, McCance-Katz EF. Co-occurring substance use and mental disorders among adults with opioid
                      use disorder. Drug and Alcohol Dependence. 2019;197(1):78–82. 10.1016/j.drugalcdep.2018.12.030.) and
ATTORNEYS AT LAW
  Roanoke, Virginia
                      only 28% of those who have overdosed on opioids receive MAT (D'Onofrio G, O'Connor PG, Pantalon MV,
                      Charawski MC, Busch SH, Owens PH, Bernstein SL, Fiellin DA. Emergency department–initiated
                      buprenorphine/naloxone treatment for opioid dependence: A randomized clinical
                      trial. JAMA. 2015;313(16):1636–1644.).
                      4 MAT Medications, Counseling, and Related Conditions, Substance Abuse and Mental Health Services

                      Administration, https://www.samhsa.gov/medication-assisted-treatment/medications-counseling-related-
                      conditions (last accessed June 9, 2022).
                      5 This program was in the development stage prior to receipt of the Compliance Monitor’s draft report.


                                                                       -8-
                      629.0303\NHS
                      4867-7941-7635 .v4
            Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 9 of 16 Pageid#: 23542



                      Targonski has already instructed providers to obtain their buprenorphine waiver to

                      continue treatment for patients with substance use disorder when they come from jails

                      on a treatment plan. Dr. Targonski has applied for his X waiver for MAT prescribing.

                               The Compliance Monitor also states in his draft report that “the screening for lung

                      cancer is an area where clearly established evidence practice is absent in FCCW.” Again,

                      this statement is erroneous. The Virginia Department of Health recommends low-dose

                      computed tomography (LDCT) screening for those individuals who have smoked the

                      equivalent of one pack of cigarettes a day for 30 years or two packs of cigarettes a day for

                      15 years.6 Currently, FCCW has only 111 patients over the age of 55. FCCW began

                      screening in 2021, following publication of guidelines for screening and continues to

                      evolve the practice. In March, prior to the Compliance Monitor’s most recent visit, Dr.

                      Targonski screened 100 patients (10.5% of population) during chronic care visits, 10 of

                      whom were eligible for LDCT. All ten were offered and 8 accepted. The proportion

                      screened at 10.5% of the total FCCW population is well within the range of proportion

                      screened in the studies cited by the United States Preventative Services Task Force (6.5%

                      - 18.1% by state, for example)7 despite the absence of specific implementation guidelines

                      for correctional settings; the absence of Federal Bureau of Prisons guidelines for use of

                      LDCT and lung cancer screening in its current preventive service guidelines;8 the known

                      worse screening rates in racial, ethnic and socioeconomic groups nationally suffering

                      health disparities from which FCCW’s population largely originates, and the absence of

ATTORNEYS AT LAW      effective national programming for LDCT lung cancer screening (USPSTF cites the need
  Roanoke, Virginia



                      for implementation research in this area). These data suggest that FCCW is in fact not

                      6 https://www.vdh.virginia.gov/content/uploads/sites/65/2017/06/Cancer-ScreeningFlyer.pdf
                      7 https://www.uspreventiveservicestaskforce.org/uspstf/recommendation/lung-cancer-screening
                      8 https://www.bop.gov/resources/pdfs/phc.pdf


                                                                     -9-
                      629.0303\NHS
                      4867-7941-7635 .v4
                 Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 10 of 16 Pageid#:
                                                   23543


                      only compliant in this area but likely leading national efforts at offering state of current

                      evidence health screening to its patient population.

                          c. Medical Equipment

                               The Compliance Monitor found FCCW “not compliant” with this standard based on

                      two women who reported problems with access to disability related equipment and

                      responses to requests/grievances regarding durable medical equipment (“DME”).

                               One of the patients referenced by the Compliance Monitor had an ongoing issue

                      with her hearing aids. The patient arrived at FCCW in March 2021 with hearing aids that

                      were so old they used batteries weekly, and the batteries were not easily obtainable

                      because of the age of her equipment and a lack of demand for those particular batteries.

                      FCCW sent the patient to audiology for a hearing test on November 4, 2021, a hearing aid

                      consult on November 8, 2021, and a fitting on January 4, 2021. She received new hearing

                      aids on March 7, 2022. Although it took approximately four months to complete this

                      process, FCCW was at the mercy of the University of Virginia Health System schedulers to

                      estimate this patient’s urgency.

                               The other patient referenced by the Compliance Monitor complained of missing

                      arm and footrests for her wheelchair, as well as her walker “when she was transferred

                      from medical isolation for COVID-19.” Dr. Targonski specifically addressed this issue,

                      while meeting with patients in the Red Zone for isolation for COVID-19. On first

                      impression, Dr. Targonski also agreed that having missing parts was unsatisfactory and

ATTORNEYS AT LAW
                      immediately addressed the problem by having the necessary parts delivered to the
  Roanoke, Virginia


                      patient. Upon further investigation, however, Dr. Targonski consulted with the Physical

                      Therapy staff who advised that they had recommended that the arm and footrests be

                      removed due to the patient’s compression neuropathy in her wrist. As it turns out, the
                                                                 - 10 -
                      629.0303\NHS
                      4867-7941-7635 .v4
                 Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 11 of 16 Pageid#:
                                                   23544


                      patient was worsening her condition by using the arm rests and by propelling herself with

                      her arms while in the wheelchair instead of using her feet as instructed by physical

                      therapy staff. The walker presented the same concerns as the patient’s weightbearing on

                      the wrists worsened her compression neuropathy.

                               The Compliance Monitor also referenced instances regarding alleged delays in

                      receipt of braces that had been ordered but not yet received at the facility. Prior to the

                      Compliance Monitor’s report, FCCW instituted a new step in the DME registry to improve

                      monitoring and coordinate on supply chain issues (as this issue was result of delayed

                      receipt, not delayed ordering by FCCW staff). It goes without saying that supply shortages

                      since the pandemic have affected industries and individuals across the country and is not

                      unique to FCCW.

                          d. Performance Evaluation

                               The Compliance Monitor rated FCCW as not compliant with this standard based on

                      the lack of performance reviews for contract staff. This finding was based on an

                      inadvertent oversight by FCCW in responding to the Compliance Monitor’s requests for

                      information prior to drafting the most recent report. Agency providers participate in the

                      peer review process along with VADOC providers and are summarized in ACA audit

                      reports when critiquing and sharing this information. Agency providers also undergo the

                      same monthly performance review on practice and quality monitoring and their

                      performance data are routinely shared with them at weekly provider meetings that

ATTORNEYS AT LAW
                      address utilization management, medication use, and practice metrics. Thus, FCCW does
  Roanoke, Virginia


                      conduct performance reviews on contract providers and anticipates that the Compliance

                      Monitor will find FCCW compliant in regard to this standard.

                      IV. Response to Plaintiff’s Status Report
                                                                - 11 -
                      629.0303\NHS
                      4867-7941-7635 .v4
                 Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 12 of 16 Pageid#:
                                                   23545


                               The “Declarations” submitted with Plaintiffs’ Status Report again fail to comply

                      with 28 U.S.C. § 1746 despite the fact that they purport to have been reviewed weeks or

                      months prior to the filing of Plaintiffs’ May 20, 2022, Status Report. In addition, Regina

                      Watkins again falsely contends that she “was a Registered Nurse,” but Defendants have

                      found no records substantiating that assertion. See Ex. B.

                               Staffing: FCCW continues to work closely with the Human Resources Department

                      and with employment agencies to make certain there are candidates in the pipeline in the

                      event that additional staff are needed, but the practice also continues to evolve

                      efficiencies that offset the need for extra staff and will continue to do so consistent with

                      best QI and best practice philosophy. FCCW has routinely met its obligation to maintain at

                      least 78 staff on the schedule for several years, including the number of full-time

                      equivalent registered nurses.

                               Notice: The notices regarding providing appointments were first posted in early

                      February as an attempt to protect the clinic, staff, and patients from inappropriate

                      overutilization (one of the requirements of the Settlement Agreement) of clinic access as a

                      result of patients repeatedly misrepresenting, and sometimes admittedly falsifying,

                      complaints, which has become increasingly more common since the suspension of copay

                      (i.e., clinic visits requested under false pretenses).

                               The notices were a pilot CQI project to protect access for patients with medical

                      issues and was undertaken after proposal by clinic staff and review by overall medical

ATTORNEYS AT LAW      staff, security, building staff and patients themselves. Plaintiffs’ counsel were informed of
  Roanoke, Virginia



                      this before submitting their Status Report but still contend their erroneous belief that the

                      poster was the product of Dr. Stich. Expectations were low but the project reflected the

                      priorities of both staff and patients and thus proceeded. Like most CQI projects (70-90%
                                                                    - 12 -
                      629.0303\NHS
                      4867-7941-7635 .v4
                 Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 13 of 16 Pageid#:
                                                   23546


                      of CQI projects fail), this approach had no measurable impact on sick calls submitted,

                      clinic patients seen, emergency grievances, emergency medical responses, or patient

                      complaints via IMS. There were 867 clinic visits in February (substantially similar to the

                      average number for all of 2021, which was 880 visits per month), so there appears to be

                      no objective evidence that the signs had any measurable impact on inmates’ access to

                      health care. In turn, there appeared to be no measurable change in behavior among those

                      who repeatedly misrepresent their conditions either. So, the signs were removed.

                               There was only one instance when a patient was written up for a violation, but

                      security staff decided not to process that charge. There was not a single informal

                      complaint or grievance submitted about the notice. A random survey of clinic patients

                      found less than fifteen percent were even aware of the notice, and none indicated any

                      concern regarding messaging. The number of sick call requests remained relatively static

                      during this time as well, which also indicates the posters had no effect on access.

                      Moreover, chart reviews demonstrate that inmates have multiple issues addressed at all

                      visits, and the schedulers combine visits so people can get multiple issues addressed at

                      one visit (i.e., lab, outside appointment and sick call). The Compliance Monitor also noted

                      that his review of visits demonstrated that they were multifactorial—people were seen

                      for multiple complaints and issues simultaneously regardless of the visit type or chief

                      complaint—in his discussion with Dr. Targonski about diagnosis and treatment audits.

                               Complaints regarding Dr. Stich and Nurse Practitioner Cason: Ms. Stogoski

ATTORNEYS AT LAW      admitted during her disciplinary hearing that she called Dr. Stich “stupid” and that Dr.
  Roanoke, Virginia



                      Stich “did not know what he was doing.” This admission is contained in the audio

                      recording of the hearing. See Ex. C. Those statements were the basis for the charge against

                      her. In addition, Stogoski’s pharmacy report demonstrates that Dr. Stich (contrary to
                                                                - 13 -
                      629.0303\NHS
                      4867-7941-7635 .v4
                 Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 14 of 16 Pageid#:
                                                   23547


                      other “declarants’” assertions) has written her multiple prescriptions for 90 days or

                      beyond (as recently as May 5, 2022, and May 12, 2022). Angel Tanner contradicts herself

                      in her own declaration by claiming that Cason remains behind her desk during visits but

                      also admitting that Cason evaluated her neck when Tanner complained of neck pain. The

                      clinic notes also document that Cason completed the exam. Rashanda Walker’s

                      medication report demonstrates that Dr. Stich has prescribed medications for beyond 90

                      days (as recently as April 28, May 11, and May 13, 2022). In addition, Walker’s oncology

                      note from her visit on 4/18/22 states that there were “no rashes present” on her skin.

                      Moreover, Dr. Stich did not instruct providers to write prescriptions for only 30 days, and

                      he did not have authority to approve non-formulary medications at the time Watkins

                      “reviewed” her “declaration.”9 FCCW continues to prescribe over the counter creams and

                      lotions to patients. Almost 40% of the women at the facility have prescriptions for

                      dermatological agents that FCCW is accused of not providing.

                                                                     CONCLUSION

                               Defendants continue to work collaboratively with the Compliance Monitor as he

                      continues his assessment of FCCW’s compliance with the Settlement Agreement and

                      continue to adapt and improve their practice, if not already done so, in the areas focused

                      on by the current Compliance Monitor and not previously addressed by the former

                      monitor.

                                                                         Respectfully Submitted,

ATTORNEYS AT LAW
  Roanoke, Virginia




                      9 Watkins claimed this was said to her in March. But Dr. Stich did not receive authorization to approve non-
                      formulary medications until May 19 as Dr. Targonski would be away from the facility for vacation.
                      Regardless, the approval rate for non-formulary medications is greater than 99% and is typically
                      accomplished within 1-3 days, not weeks.
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                      4867-7941-7635 .v4
                 Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 15 of 16 Pageid#:
                                                   23548


                                                         HAROLD W. CLARKE, A. DAVID ROBINSON,
                                                         STEPHEN HERRICK, MARIEA K. LEFEVERS, and
                                                         PAUL TARGONSKI, M.D., P.H.D., M.P.H.

                                                         /s/
                                                         Katherine C. Londos (VSB #: 36848)
                                                         Nathan H. Schnetzler (VSB #: 86437)
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                                                         Counsel for Harold W. Clarke, A. David
                                                         Robinson, Stephen Herrick, Mariea K. LeFevers,
                                                         and Paul Targonski, M.D., P.H.D. M.P.H.




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                      629.0303\NHS
                      4867-7941-7635 .v4
                 Case 3:12-cv-00036-NKM-JCH Document 867 Filed 06/09/22 Page 16 of 16 Pageid#:
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                                                       CERTIFICATE OF SERVICE

                               I hereby certify that on June 9, 2022, I electronically filed the foregoing with the

                      Clerk of the Court using the CM/ECF system, which will automatically send notification of

                      such filing to all counsel of record.


                                                                           /s/ Nathan H. Schnetzler




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